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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY



LOUISE SCALERA,

                    Plaintiff,             Civil Action No. 19-21980 (ES) (CLW)

                    v.                                       ORDER
DSW, INC.,

                    Defendant.


MCNULTY, DISTRICT JUDGE

      Before the Court is the objection of defendant DSW, Inc. to the Honorable

Magistrate Judge Cathy L. Waldor’s report and recommendation that the Court

grant plaintiff Louise Scalera’s motion to remand this action to state court. For

the reasons stated in the Court’s accompanying Opinion,

      IT IS this 5th day of November 2020,

      ORDERED that DSW’s objection is OVERRULED, and the Court adopts

the report and recommendation (DE 14) in full; and it is further

      ORDERED that Scalera’s motion to remand the action to state court (DE

7) is GRANTED; and it is further

      ORDERED that Scalera’s request for attorneys’ fees under 28 U.S.C. §

1447(c) is DENIED; and it is further

      ORDERED that the Clerk of Court TERMINATE the pending motion to

dismiss (DE 5); and it is further




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     ORDERED that this case is REMANDED to the New Jersey Superior Court,

Essex County.



                                              /s/ Kevin McNulty
                                              _______________________
                                              Kevin McNulty, U.S.D.J.




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